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   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                                SOUTHERN DIVISION
  11 LEONARD A. ALKOV and GEORGIA Case No. SACV 09-764 AG(RNBX)
     A. ALKOV, husband and wife; et al.,
  12                                       ORDER DISMISSING CLAIMS
                  Plaintiffs,
  13
           vs.
  14
     JOHN ANTHONY MILLER, an
  15 individual aka JOHN A. MILLER, JR; et
     al.,
  16
                  Defendants.
  17
  18 AND RELATED COUNTERCLAIM
  19
  20        The Court has received and considered the parties’ Stipulation to Dismiss.
  21        IT IS ORDERED that all claims asserted by Plaintiff Barry Maurer against
  22 Defendant IRA RESOURCES, INC. and Does 1 through 10 in the First Amended
  23 Complaint filed July 15, 2009 (ECF Document Number 3) are dismissed without
  24 prejudice.
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  28 ///

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                                 ORDER DISMISSING CLAIMS
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   1        IT IS FURTHER ORDERED that all parties hereto are to bear their own
   2 attorney’s fees and costs of suit incurred herein.
   3 DATED: July 25, 2011
   4                                    ________________________________
   5                                    HON. ANDREW J. GUILFORD
   6                                    UNITED STATES DISTRICT COURT JUDGE
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                                   ORDER DISMISSING CLAIMS
